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  UNITED STATES DISTRICT COURT                                 EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                          §
                                                   §
 versus                                            §    CRIMINAL ACTION NO. 4:05-CR-96
                                                   §
 SHAWN KHAJEH AMIDI (14)                           §

                  MEMORANDUM ADOPTING REPORT AND
          RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

          Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for the revocation of Defendant’s supervised release to the United States

 Magistrate Judge for proper consideration. Having received the report of the United States

 Magistrate Judge pursuant to its order, and the parties’ waiver of right to file objections, this Court

 is of the opinion that the findings and conclusions of the Magistrate Judge are correct, and adopts

 same as the findings and conclusions of the Court. It is therefore,

          ORDERED that the Magistrate Judge's Report is ADOPTED as the opinion of the Court.

 It is further

          ORDERED that Defendant’s supervised release is hereby REVOKED. It is further

          .
          ORDERED   that Defendant is sentenced to time served.
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.
          SIGNED at Beaumont, Texas, this 5th day of December, 2013.




                                             ________________________________________
                                                         MARCIA A. CRONE
                                                  UNITED STATES DISTRICT JUDGE
